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                           IN THE UNITED STATES DISTRICT COURT 
                               EASTERN DISTRICT OF ARKANSAS


CAT CLAWS, INC., an Arkansas
corporation
                                              Plaintiff
v.
                                                                 Case No. 4:16-cv-733 SWW

BIG LOTS STORES, INC., an
Ohio corporation doing business
as Big Lots!, and Does 1 - 10
                                              Defendants



                                    ORDER OF DISMISSAL

        Having been notified that a settlement has been reached in this matter, the Court finds that

this case should be dismissed.

        IT IS THEREFORE ORDERED that the complaint and all claims in this action against the

defendants be, and they are, hereby dismissed with prejudice.

        The Court retains complete jurisdiction for thirty (30) days to vacate this Order and to

reopen the action if it is satisfactorily shown that settlement has not been completed and further

litigation is necessary.

        IT IS SO ORDERED this 17th day of October, 2017.

                                                     /s/Susan Webber Wright

                                                     UNITED STATES DISTRICT JUDGE




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